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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  MATTHIAS KRULL,

        Defendant.
  _______________________________/

        SEALED ORDER GRANTING MOTION FOR REDUCTION OF SENTENCE

         THIS MATTER came before the Court on the Government’s Rule 35 Motion for Sentence

 Reduction [ECF No. 86], filed under seal on August 27, 2020. The Government requests a 65

 percent reduction in Defendant’s sentence; Defendant supports the Motion. (See id. ¶ 11). After

 careful consideration of the nature and extent of Defendant’s cooperation, as well as other relevant

 factors in 18 U.S.C. section 3553(a), see United States v. Dobson, 315 F. App’x 192, 195 (11th Cir.

 2008); and United States v. McMahan, 872 F.3d 717 (5th Cir. 2017), it is

         ORDERED AND ADJUDGED that the Government’s Rule 35 Motion for Sentence

 Reduction [ECF No. 86] is GRANTED. Accordingly, the Judgment in a Criminal Case entered

 on October 29, 2018, is AMENDED as follows:
                 “The Defendant is hereby committed to the custody of the United
                 States Bureau of Prisons to be imprisoned for a term of 42 months.”

          All other provisions of the Judgment in a Criminal Case, entered October 29, 2018, remain

  in full force and effect.
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        DONE AND ORDERED in Miami, Florida, this 3rd day of September, 2020.




                                                _________________________________
                                                CECILIA M. ALTONAGA
                                                UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
        U.S. Marshal




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